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                                                                                September 27, 2019
VIAECF

The Honorable Valerie E. Caproni
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

        Re: Feibleman v. The Trustees of Columbia University in the City ofNew York,
            No. 1:19-cv-4327 (VEC) (KHP) (S.D.N.Y.)

Dear Judge Caproni:

        We represent Defendant The Trustees of Columbia University in the City of New York
("Columbia") in the above-captioned action. In accordance with Rule 2.D of Your Honor's
Individual Practices in Civil Cases, we write to inform the Court that the Parties have agreed upon
a Stipulation and Order regarding the damages now being sought by Plaintiff in the litigation (the
"Damages Order"). The Damages Order states that Plaintiff no longer seeks to recover in this
action damages with respect to any purported physical, emotional, and/or psychological injury,
and/or any purported costs or expenses for medical, psychiatric, and/or psychological treatment or
therapy and that as a result, Plaintiff will not be required to provide HIP AA authorizations at this
time.

       An executed copy of the Damages Order is attached to this letter. We are also emailing a
Microsoft Word version to the Court at CaproniNYSDChambers@nysd.uscourts.gov, as required
by Rule 2.D.

       Your Honor's attention to this matter is greatly a preciated.




cc: Counsel of Record
